          Case 1:06-cr-00365-LJO-BAM Document 209 Filed 12/12/12 Page 1 of 2


 1   BENJAMIN B. WAGENR
     United States Attorney
 2   MARK E. CULLERS
     HENRY Z. CARBAJAL
 3   Assistant U.S. Attorneys
     MEGAN A.S. RICHARDS
 4   Special Assistant U.S. Attorney
     2500 Tulare Street, Suite 4401
 5   Fresno, California 93721
     Telephone: (559) 497-4000
 6   Facsimile: (559) 497-4099
 7   Attorneys for the
     United States of America
 8
 9
                            IN THE UNITED STATES DISTRICT COURT
10
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12    UNITED STATES OF AMERICA,                    )    CASE NO:     1:06-CR-00365 LJO
                                                   )
13                        Plaintiff,               )    ORDER APPROVING DEFERRED
                                                   )    PROSECUTION AGREEMENT
14                                                 )
                    v.                             )
15                                                 )
                                                   )
16    NAJEH KAMAL JAWAD,                           )
                                                   )
17                        Defendant.               )
                                                   )
18                                                 )
19
20          The Court has reviewed and considered the Deferred Prosecution
21   Agreement filed on December 11, 2012 and continues all further
22   criminal proceedings in this case, including trial, for a period of
23   twelve (12) months.         The parties have stipulated and requested that
24   such twelve (12) month time period be excluded in computing the time
25   within which any trial must be commenced upon the charges contained
26   in the Superseding Indictment filed against defendant Najeh Kamal
27   Jawad, pursuant to Title 18, United States Code, Section 3161(h)(2).
28          IT IS ORDERED THAT the Deferred Prosecution Agreement between
     _____________________________________________________________________________________________
                            ORDER APPROVING DEFERRED PROSECUTION AGREEMENT
          Case 1:06-cr-00365-LJO-BAM Document 209 Filed 12/12/12 Page 2 of 2


 1   the United States and defendant Najeh Kamal Jawad filed December 11,
 2   2012 is approved, and further criminal proceedings in this case,
 3   including trial, are hereby continued for a period of twelve (12)
 4   months from the date of this Order.
 5          IT IS FURTHER ORDERED THAT time shall be excluded in the
 6   interests of justice, pursuant to 18 U.S.C. § 3161(h)(2), for the
 7   period through and including twelve (12) months from the date of this
 8   Order.
 9
10
11
12                                        IT IS SO ORDERED.
13               Dated:   December 12, 2012       /s/ Lawrence J. O'Neill
                              b9ed48UNITED STATES DISTRICT JUDGE
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     _____________________________________________________________________________________________
                            ORDER APPROVING DEFERRED PROSECUTION AGREEMENT
                                                 -2-
